                                                              United States Bankruptcy Court
                                                                    District of Arizona
In re:                                                                                                                 Case No. 20-07377-PS
FERNANDO PULIDO                                                                                                        Chapter 13
NAYELI PULIDO
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0970-2                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Nov 13, 2023                                               Form ID: pdf010                                                           Total Noticed: 41
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

+++              Addresses marked '+++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(e).

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 15, 2023:
Recip ID                  Recipient Name and Address
db                  +++   FERNANDO PULIDO, 15912 W VOGEL AVENUE, GOODYEAR, AZ 85338-3568
jdb                 +++   NAYELI PULIDO, 15912 W VOGEL AVENUE, GOODYEAR, AZ 85338-3568
16117256              +   Childrens Place, 500 plaza drive, Secaucus NJ 07094-3668
16117271              +   R&D Wong Invesments LLC, 10765 Grand Ave, Sun City AZ 85351-3452
16117273              +   TinyTeeth, 15661 w. roosevelt street, Goodyear AZ 85338-9307

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: bankruptcynotices@azdor.gov
                                                                                        Nov 14 2023 01:50:00      AZ DEPARTMENT OF REVENUE,
                                                                                                                  BANKRUPTCY & LITIGATION, 1600 W.
                                                                                                                  MONROE, 7TH FL., PHOENIX, AZ 85007-2650
16117248                  Email/Text: ebnbankruptcy@ahm.honda.com
                                                                                        Nov 14 2023 01:52:00      American Honda Finance, Attn: Bankruptcy, Po
                                                                                                                  Box 168088, Irving TX 75016
16123244                  Email/Text: ebnbankruptcy@ahm.honda.com
                                                                                        Nov 14 2023 01:52:00      American Honda Finance Corporation, National
                                                                                                                  Bankruptcy Center, P.O. Box 168088, Irving, TX
                                                                                                                  75016-8088
16117247               ^ MEBN
                                                                                        Nov 14 2023 01:45:52      Account Resolution Services, Attn: Bankruptcy,
                                                                                                                  Po Box 459079, Sunrise FL 33345-9079
16117249               + Email/Text: bankruptcynotices@azdor.gov
                                                                                        Nov 14 2023 01:50:00      Arizona Department of Revenue, P.O. Box 52016,
                                                                                                                  Phoenix AZ 85072-2016
16117251               + Email/Text: bankruptcy@bmecollect.com
                                                                                        Nov 14 2023 01:51:00      Bureau Of Medical Economics, Attn: Bankruptcy,
                                                                                                                  Po Box 20247, Phoenix AZ 85036-0247
16144024                  Email/PDF: bncnotices@becket-lee.com
                                                                                        Nov 14 2023 02:12:46      CAPITAL ONE, N.A., C/O BECKET AND LEE
                                                                                                                  LLP, PO BOX 3001, MALVERN PA 19355-0701
16117257                  Email/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM
                                                                    Nov 14 2023 01:52:00                          COMENITY - VICTORIA'S SECRET, PO BOX
                                                                                                                  659728, SAN ANTONIO TX 78265-9728
16117252               + Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                        Nov 14 2023 02:11:18      Capital One, Attn: Bankruptcy, Po Box 30285,
                                                                                                                  Salt Lake City UT 84130-0285
16125735                  Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                        Nov 14 2023 02:11:47      Capital One Bank (USA), N.A., by American
                                                                                                                  InfoSource as agent, PO Box 71083, Charlotte, NC
                                                                                                                  28272-1083
16117253               + Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                        Nov 14 2023 02:11:30      Capital One/Helzberg, Attn: Bankruptcy, Po Box
                                                                                                                  30285, Salt Lake City UT 84130-0285



           Case 2:20-bk-07377-PS Doc 69 Filed 11/13/23 Entered 11/15/23 22:40:54                                                                   Desc
                               Imaged Certificate of Notice Page 1 of 11
District/off: 0970-2                                          User: admin                                                      Page 2 of 3
Date Rcvd: Nov 13, 2023                                       Form ID: pdf010                                                Total Noticed: 41
16117254         + Email/Text: rm-bknotices@bridgecrest.com
                                                                          Nov 14 2023 01:53:00   Carvana, PO BOX 29018, Phoenix AZ
                                                                                                 85038-9018
16117258           Email/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM
                                                             Nov 14 2023 01:52:00                Comenity Bank, PO Box 182789, Columbus OH
                                                                                                 43218-2789
16117259         + Email/PDF: creditonebknotifications@resurgent.com
                                                                          Nov 14 2023 02:11:45   Credit One Bank, Attn: Bankruptcy Department,
                                                                                                 Po Box 98873, Las Vegas NV 89193-8873
16117260         + Email/Text: cscbk@creditservicecompany.com
                                                                          Nov 14 2023 01:52:00   Credit Service Company, Attn: Bankruptcy, Po
                                                                                                 Box 1120, Colorado Springs CO 80901-1120
16117261           Email/Text: mrdiscen@discover.com
                                                                          Nov 14 2023 01:50:00   Discover Financial, Attn: Bankruptcy Department,
                                                                                                 Po Box 15316, Wilmington DE 19850
16117262         + Email/Text: bankruptcy@emeraldar.com
                                                                          Nov 14 2023 01:52:00   Emerald AR Systems, 3636 North Central Avenue,
                                                                                                 Suite 650, Phoenix AZ 85012-1968
16117263         + Email/Text: bknoticing@grantweber.com
                                                                          Nov 14 2023 01:52:00   Grant & Weber, Attn: Bankruptcy, 26610 Agoura
                                                                                                 Road, Suite 209, Calabasas CA 91302-2975
16117264         + Email/Text: bk@hughesfcu.org
                                                                          Nov 14 2023 01:53:00   Hughes Federal Credit Union, Attn: Bankruptcy,
                                                                                                 Po Box 11900, Tucson AZ 85734-1900
16117265           Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                          Nov 14 2023 01:52:00   IRS, Central Insolvency Operations, PO Box 7346,
                                                                                                 Philadelphia PA 19101-7346
16117266         + Email/Text: PBNCNotifications@peritusservices.com
                                                                          Nov 14 2023 01:51:00   Kohls/Capital One, Attn: Credit Administrator, Po
                                                                                                 Box 3043, Milwaukee WI 53201-3043
16117267           Email/Text: Bankruptcy@recoveryatty.com
                                                                          Nov 14 2023 01:51:00   Law Office of James Vaughan, PC, 11445 E. Via
                                                                                                 Linda, Ste 2-610, Scottsdale AZ 85259
16147049           Email/PDF: resurgentbknotifications@resurgent.com
                                                                          Nov 14 2023 02:11:14   LVNV Funding, LLC, Resurgent Capital Services,
                                                                                                 PO Box 10587, Greenville, SC 29603-0587
16117268         + Email/Text: bankruptcydpt@mcmcg.com
                                                                          Nov 14 2023 01:52:00   Midland Funding, Attn: Bankruptcy, 350 Camino
                                                                                                 De La Reine Ste 100, San Diego CA 92108-3007
16143931         + Email/Text: bankruptcydpt@mcmcg.com
                                                                          Nov 14 2023 01:52:00   Midland Funding LLC, PO Box 2011, Warren, MI
                                                                                                 48090-2011
16117269         + Email/PDF: pa_dc_claims@navient.com
                                                                          Nov 14 2023 02:11:47   Naviet, Attn: Claims Dept, Po Box 9500,
                                                                                                 Wilkes-Barr PA 18773-9500
16117270           Email/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com
                                                                   Nov 14 2023 02:11:55          Portfolio Recovery, Attn: Bankruptcy, 120
                                                                                                 Corporate Blvd, Norfold VA 23502
16177068           Email/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com
                                                                   Nov 14 2023 02:11:47          Portfolio Recovery Associates, LLC, POB 12914,
                                                                                                 Norfolk, VA 23541
16117449         + Email/PDF: rmscedi@recoverycorp.com
                                                                          Nov 14 2023 02:11:14   PRA Receivables Management, LLC, PO Box
                                                                                                 41021, Norfolk, VA 23541-1021
16131798           Email/PDF: resurgentbknotifications@resurgent.com
                                                                          Nov 14 2023 02:12:50   Pinnacle Credit Services, LLC, Resurgent Capital
                                                                                                 Services, PO Box 10587, Greenville, SC
                                                                                                 29603-0587
16190950           Email/Text: bnc-quantum@quantum3group.com
                                                                          Nov 14 2023 01:52:00   Quantum3 Group LLC as agent for, Comenity
                                                                                                 Bank, PO Box 788, Kirkland, WA 98083-0788
16190949           Email/Text: bnc-quantum@quantum3group.com
                                                                          Nov 14 2023 01:52:00   Quantum3 Group LLC as agent for, Comenity
                                                                                                 Capital Bank, PO Box 788, Kirkland, WA
                                                                                                 98083-0788
16117272         + Email/Text: bncmail@w-legal.com
                                                                          Nov 14 2023 01:52:00   Target, Attn: Bankruptcy, Po Box 9475,
                                                                                                 Minneapolis MN 55440-9475
16117274         + Email/Text: collectionservices@trojanonline.com
                                                                          Nov 14 2023 01:52:00   Trojan Professional Srvs, Attn: Bankruptcy, Po
                                                                                                 Box 1270, Los Alamitos CA 90720-1270
16117275         + Email/PDF: ais.wellsfargo.ebn@aisinfo.com
                                                                          Nov 14 2023 02:12:53   Wells Fargo Bank NA, Attn: Bankruptcy, 1 Home
                                                                                                 Campus Mac X2303-01a, Des Moines IA
                                                                                                 50328-0001




           Case 2:20-bk-07377-PS Doc 69 Filed 11/13/23 Entered 11/15/23 22:40:54                                                Desc
                               Imaged Certificate of Notice Page 2 of 11
District/off: 0970-2                                               User: admin                                                            Page 3 of 3
Date Rcvd: Nov 13, 2023                                            Form ID: pdf010                                                      Total Noticed: 41
16125881                 Email/PDF: ais.wellsfargo.ebn@aisinfo.com
                                                                                   Nov 14 2023 02:12:55     Wells Fargo Bank, N.A., Wells Fargo Card
                                                                                                            Services, PO Box 10438, MAC F8235-02F, Des
                                                                                                            Moines, IA 50306-0438

TOTAL: 36


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
16117255                       Cbcs
cr               *+            PRA Receivables Management, LLC, PO Box 41021, Norfolk, VA 23541-1021
cr               *             Quantum3 Group LLC as agent for, Comenity Bank, PO Box 788, Kirkland, WA 98083-0788
16117250         ##+           Browns Collection Svc, 1700 S 1st Ave, Yuma AZ 85364-5748

TOTAL: 1 Undeliverable, 2 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 15, 2023                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 13, 2023 at the address(es) listed
below:
Name                             Email Address
RUSSELL BROWN
                                 on behalf of Trustee RUSSELL BROWN ecfmailclient@ch13bk.com

RUSSELL BROWN
                                 ecfmailclient@ch13bk.com

Rachel Elizabeth Flinn
                                 on behalf of Trustee RUSSELL BROWN rflinn@ch13bk.com dsmith@ch13bk.com

THOMAS ADAMS MCAVITY
                                 on behalf of Joint Debtor NAYELI PULIDO documents@phxfreshstart.com tom@phxfreshstart.com

THOMAS ADAMS MCAVITY
                                 on behalf of Debtor FERNANDO PULIDO documents@phxfreshstart.com tom@phxfreshstart.com

U.S. TRUSTEE
                                 USTPRegion14.PX.ECF@USDOJ.GOV


TOTAL: 6




           Case 2:20-bk-07377-PS Doc 69 Filed 11/13/23 Entered 11/15/23 22:40:54                                                           Desc
                               Imaged Certificate of Notice Page 3 of 11
                                                                                                                                      11/13/23 12:32PM




                                              UNITED STATES BANKRUPTCY COURT
                                                    DISTRICT OF ARIZONA

    In re                                                                             Case No. 2:20-bk-07377
    Fernando Pulido
    Nayeli Pulido                                                                     CHAPTER 13 PLAN

                                                                                         Original
                                                                     Debtor(s).          Amended
                                                                                         Modified
                                                                                         Payments include post-petition mortgage payments
                                                                                         Flat Fee/Administrative Expense
                                                                                         Hourly Fee/Administrative Expense




    This Plan includes the following (check all that are applicable):
                  1




                              A limit on the amount of a secured claim, which may result in a partial payment or no payment to the secured
                              creditor. See Section (C)(5)(b).
                              Avoidance of a judicial lien or nonpossessory, nonpurchase money security interest. See Section (C)(5)(c).
                              Nonstandard Provisions. See Section (H).

Your rights may be affected by this Plan. Your claim may be reduced, modified or eliminated. If you object to the treatment of
your claim as proposed in this Plan or to any provision of this Plan, you must file a written objection by the deadline set forth
below. The Bankruptcy Court may confirm this Plan without further notice if no objection is filed and the order is approved
by the Trustee. See Bankruptcy Rule 3015 and Local Rule 2084-13.

This Chapter 13 Plan is proposed by the above Debtor2. The Debtor certifies that the information contained in this Plan is accurate. A
creditor who disagrees with the proposed treatment of its debt in this Plan must timely file an objection to the Plan and serve copies on
the Debtor, Debtor’s attorney (if any), and the Chapter 13 Trustee not less than 14 days after the date set for the first meeting of
creditors, or any continuation of such meeting, or 28 days after service of the Plan, whichever is later. See Local Rule 2084-9.
This Plan does not allow claims or alter the need for timely filing any claim. For a creditor to receive a distribution for an unsecured
claim, the creditor must file a proof of claim with the Court.

If confirmed, the Plan will modify the rights and duties of the Debtor and creditors, except secured creditors will retain their liens until
the earlier of payment of the underlying debt or Debtor’s discharge under 11 U.S.C. § 13283. If the case is dismissed or converted to
another chapter (for example, Chapter 7) without completion of the Plan, each lien shall be retained to the extent recognized by
applicable non-bankruptcy law.

Pre-petition defaults will be cured using the interest rate set forth in the Plan. Any ongoing obligation will be paid according to the
terms of the Plan.

                      This is an Amended or Modified Plan.

The reason(s) why Debtor filed this Amended or Modified Plan:


Summarize how the Plan varies from the last Plan filed:

(A) Plan Payments and Property to be Submitted to the Trustee.
1
    "Plan" includes the original plan and any amended or modified plan.
2
 If this is a joint case, then "Debtor" means both Debtors.
3
 “Code” means the United States Bankruptcy Code, 11 U.S.C. § 101 et. seq.
Local Form 2084-4 (12/17)                                   Chapter 13 Plan                                                                Page 1




            Case 2:20-bk-07377-PS Doc 69 Filed 11/13/23 Entered 11/15/23 22:40:54                                                                Desc
                                Imaged Certificate of Notice Page 4 of 11
                                                                                                                             11/13/23 12:32PM




         Plan payments start on July 15, 2020. The Debtor shall pay the Trustee as follows:

 $750 each month for month 1 through month 3.
 $0 each month for month 4 through month 4.
$754 each month for month 5 through month 5.
$750 each month for month 6 through month 7.
$751 each month for month 8 through month 8.
$750 each month for month 9 through month 10.
$0 each month for month 11 through month 11.
$1211 each month for month 12 through month 12.
$0 each month for month 13 through month 13.
$750 each month for month 14 through month 18.
$0 each month for month 19 through month 19.
$750 each month for month 20 through month 22.
$2218 each month for month 23 through month 23.
$0 each month for month 24 through month 24.
$750 each month for month 25 through month 25.
$1464 each month for month 26 through month 26.
$750 each month for month 27 through month 27.
$0 each month for month 28 through month 30.
$1452 each month for month 31 through month 31.
$750 each month for month 32 through month 32.
$0 each month for month 33 through month 34.
$1580 each month for month 35 through month 35.
$0 each month for month 36 through month 36.
$40 each month for month 37 through month 37.
$1580 each month for month 38 through month 38.
$790 each month for month 39 through month 39.
$0 each month for month 40 through month 40.
$790 each month for month 41 through month 60.

The proposed plan duration is 60 months. The applicable commitment period is 60 months.
See Code § 1325(b)(4). In addition to plan payments and, if applicable, mortgage conduit payments, Debtor will submit the following
property to the Trustee:


(B) Trustee’s Percentage Fee. The Trustee shall collect upon receipt a percentage fee from all plan payments (including mortgage
payments) and property received, not to exceed 10%.

(C) Administrative Expenses and All Claims.

   (1) Until the Court confirms the Plan the Trustee will make adequate protection payments under Section (C)(1)(a) below, mortgage
       conduit payments under Section (C)(1)(b), if applicable, and pay other sums as ordered by the Court. Other disbursements will
       be made after the Court confirms the Plan. Unless otherwise provided for in Section (H) below, disbursements by the Trustee
       shall be pro rata within classes and made in the following order:

      (a) Adequate protection payments to creditors secured by personal property.

             None. If “None” is checked, the rest of Section (C)(1)(a) is not to be completed.

Pursuant to Local Rule 2084-6, the Trustee is authorized to make monthly pre-confirmation adequate protection payments to a secured
creditor without a Court order, provided the claim is properly listed on Schedule D, a secured proof of claim is filed that includes
documentation evidencing a perfected security agreement, and the Debtor or creditor sends a letter to the Trustee requesting payment.
The Trustee will apply adequate protection payments to the creditor’s secured claim. After confirmation, adequate protection
payments will continue until the claim is paid in full, unless the confirmed Plan or a Court order specifies a different treatment. If a
creditor disagrees with the amount of the proposed adequate protection payments or the Plan fails to provide for such payments, the
creditor may file an objection to confirmation of this Plan and/or file a motion pursuant to Code §§ 362 or 363.

Local Form 2084-4 (12/17)                                      Chapter 13 Plan                                                    Page 2




      Case 2:20-bk-07377-PS Doc 69 Filed 11/13/23 Entered 11/15/23 22:40:54                                                             Desc
                          Imaged Certificate of Notice Page 5 of 11
                                                                                                                              11/13/23 12:32PM




                         Creditor                         Property Description              Collateral Value        Monthly Amount
          Carvana                               2018 Chevrolet Impala 35,000 miles       $13,000.00               $250.00

  Nonstandard Provisions. See Section (H)

      (b) Mortgage Conduit Payments.

               None.

               The Trustee shall disburse Conduit Payments to a Real Property Creditor without regard to whether the Court has
               confirmed a Plan or the Real Property Creditor has filed a proof of claim. See Section (C)(4)(c) and Local Rule 2084-4.

   (2) Administrative expenses. Code § 507(a)(2).

      (a) Attorney fees. Debtor’s attorney has agreed to:

               A flat fee of $ 6,000.00 , of which $ 0.00       was paid before the filing of the case (See Local Rule 2084-3);
               or

               File a fee application for payment of a reasonable amount of fees. The estimated amount of fees to be paid by the
               Trustee, subject to Court order, is $     , of which $    was paid before the filing of the case.

      (b) Additional Services. Counsel for the Debtor has agreed to charge a flat fee for the following additional services provided to
          the Debtor:

        (i)        Before Confirmation:
                     Adversary proceedings $.
                     Lien Avoidance Actions $.
                     Preparing and filing of any motion to sell property $.
                     Other Flat Fees for $.

        (ii)       After Confirmation
                      Preparing and filing of Modified Plan $ 750 .
                      Responding to motion to dismiss and attendance at hearings $ 750 .
                      Defending motion for relief from the automatic stay $ 750 .
                      Adversary proceedings $.
                      Lien Avoidance Actions $.
                      Preparing and filing of any motion to sell property $ 750 .
                      Other Flat Fees for Reinstate Case $ 750 .

         All other additional services will be billed at the rate of $335 per hour for attorney time and $160 per hour for paralegal
         time. Counsel will file and notice a separate fee application detailing the additional fees and costs requested. Counsel will
         include all time expended in the case in the separate fee application.

      (c) Other Professional Expenses:



   (3) Leases and Unexpired Executory Contracts.

         None. If “None” is checked, the rest of Section (C)(3) is not to be completed.

      Pursuant to Code § 1322(b), the Debtor assumes or rejects the following lease or unexpired executory contract. For a lease or
      executory contract with sums owing, the arrearage will be cured by periodic plan payments. Unless the Court orders otherwise,
      the arrearage amount shall be the amount stated in the creditor’s allowed proof of claim.

      (a) Assumed.


Local Form 2084-4 (12/17)                                       Chapter 13 Plan                                                    Page 3




      Case 2:20-bk-07377-PS Doc 69 Filed 11/13/23 Entered 11/15/23 22:40:54                                                              Desc
                          Imaged Certificate of Notice Page 6 of 11
                                                                                                                             11/13/23 12:32PM




         No interest will be paid on the prepetition arrearage unless otherwise stated in Nonstandard Provisions at Section (H). A
         creditor identified in this paragraph may mail to the Debtor all correspondence, notices, statements, payment coupons,
         escrow notices, and default notices concerning any change to the monthly payment or interest rate without such being a
         violation of the automatic stay.

                       Creditor                         Property Description              Estimated Arrearage      Arrearage Through
                                                                                               Amount                     Date

             Nonstandard Provisions. See Section (H)

      (b) Rejected.

                              Creditor                                                 Property Description

             Nonstandard Provisions. See Section (H)

   (4) Creditors with a Security Interest in Real Property.

         None. If “None” is checked, the rest of Section (C)(4) is not to be completed.

      (a) Claim Wholly Unsecured. The Debtor considers any real property creditor listed below to have an unsecured claim under
          Code § 506(a) as senior liens are greater in amount than the value of the real property. Unless disallowed or otherwise
          ordered, each of the following shall be classified as a wholly unsecured claim under Section (C)(7) below. This provision
          shall not alter the status of a claim otherwise entitled to be classified as a priority under Code § 507(a)(8).

                       Creditor                         Property Description              Value of Collateral       Total Amount of
                                                                                                                   Liens with Greater
                                                                                                                        Priority
          -NONE-

      (b) No Pre-Petition Mortgage Arrears. To the extent there are no pre-petition arrears, regular post-petition mortgage payments
          shall be paid directly by the Debtor to the secured creditor.

                          Creditor                                  Property Address                      Post-Petition Payments by
                                                                                                                    Debtor
          -NONE-

      (c) Curing of Default and Maintenance of Payments. Prepetition arrearages, including fees and costs, as well as the regular
          post-petition payments shall be paid through the Plan by the Trustee. No interest will be paid on the prepetition arrearage
          unless otherwise stated in Nonstandard Provisions. Unless the Court orders otherwise, the arrearage amount shall be the
          amount stated in the creditor’s allowed proof of claim.

         A creditor identified in this paragraph may mail the Debtor all correspondence, notices, statements, payment coupons,
         escrow notices, and default notices concerning any change to the monthly payment or interest rate without violating the
         automatic stay.

            Creditor or Property      Property Description        Current Monthly          Estimated            Arrearage    Interest
             Servicing Agent                                         Payment           Arrearage Amount          Amount      Rate, if
                                                                                             Owed                 Owed      applicable
                                                                                                                Through        (i.e.,
                                                                                                                             HOAs)
          -NONE-

             Nonstandard Provisions. See Section (H).

   (5) Claims Secured by Personal Property or a Combination of Real and Personal Property.

         None. If “None” is checked, the rest of Section (C)(5) is not to be completed.
Local Form 2084-4 (12/17)                                    Chapter 13 Plan                                                      Page 4




      Case 2:20-bk-07377-PS Doc 69 Filed 11/13/23 Entered 11/15/23 22:40:54                                                             Desc
                          Imaged Certificate of Notice Page 7 of 11
                                                                                                                               11/13/23 12:32PM




         Claims under paragraphs (a) and (b) that are included in the plan payment will be paid concurrently and pro rata.

      (a) Unmodified Secured Claims.

            None. If “None” is checked, the rest of Section (C)(5)(a) is not to be completed.

         A claim stated in this subparagraph (i.e. 910 claims) will be paid in full under the Plan with interest at the rate stated below,
         which may vary from the contract interest rate. Unless otherwise ordered, the principal amount to be paid will be as stated in
         the creditor’s proof of claim. The holder of a claim will retain the lien until the earlier of payment of the underlying debt
         determined under nonbankruptcy law or discharge under Code § 1328, at which time the lien will terminate and shall be
         released by the creditor. Federal tax liens shall continue to attach to property excluded from the bankruptcy estate under
         Code § 541(c)(2) until the Internal Revenue Service is required to release the liens in accordance with nonbankruptcy law.
                        Creditor                         Property Description               Estimated Amount to        Proposed Interest
                                                                                             Be Paid on Secured              Rate
                                                                                                     Claim
         Carvana                               2018 Chevrolet Impala 35,000 miles                     $27,691.45 6.00%

            This debt has nonfiling codebtor(s) other than a spouse.
                       Name(s) of other individual(s) liable:
                       Post-petition payments to be made by:       Trustee; or
                                                                   Nonfiling codebtor.
            Nonstandard Provisions. See Section (H).

      (b) Modified Secured Claims.

            None. If “None” is checked, the rest of Section (C)(5)(b) is not to be completed.

         Secured creditors listed below shall be paid the amount shown below as the Amount to Be Paid on Secured Claim, with
         such amount paid through the Plan payments. If the Plan proposes to pay a Secured Claim less than the amount asserted in
         the proof of claim, then the holder of the Secured Claim must file a timely objection to the Plan. If the principal amount of
         the creditor’s proof of claim is less than the Amount to Be Paid on Secured Claim, then only the proof of claim amount will
         be paid. If a creditor fails to file a secured claim or files a wholly unsecured claim, the debtor may delete the proposed
         payment of a secured claim in the order confirming plan. The holder of a timely filed secured claim will retain its lien until
         the earlier of payment of the underlying debt determined under non-bankruptcy law or discharge under § 1328, at which
         time the lien will terminate and shall be released by the creditor. Any proposed adequate protection payments are provided
         for in Section (C)(1)(a) above.

            Creditor and Property Description        Debt Amount           Value of Collateral and        Amount to Be        Proposed
                                                                             Valuation Method            Paid on Secured       Interest
                                                                                                              Claim             Rate

            Nonstandard Provisions. See Section (H).

      (c) Lien Avoidance.

            None. If “None” is checked, the rest of Section (C)(5)(c) is not to be completed.

         The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair
         exemptions to which the debtor(s) would have been entitled under Code § 522(b). Unless ordered otherwise, a judicial lien
         or security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of
         the order confirming the plan. The amount of the judicial lien or security interest that is avoided will be treated as an
         unsecured claim in Section (C)(7) to the extent allowed. The amount, if any, of the judicial lien or security interest that is
         not avoided will be paid in full as a secured claim under the plan. See Code § 522(f) and Bankruptcy Rule 4003(d). If more
         than one lien is to be avoided, provide the information separately for each lien. All information for the avoidance of the
         lien(s) must be provided.



Local Form 2084-4 (12/17)                                      Chapter 13 Plan                                                      Page 5




      Case 2:20-bk-07377-PS Doc 69 Filed 11/13/23 Entered 11/15/23 22:40:54                                                               Desc
                          Imaged Certificate of Notice Page 8 of 11
                                                                                                                               11/13/23 12:32PM




Information regarding judicial lien or security interest              Information regarding calculation of lien avoidance and treatment
                                                                      of remaining secured claim

   (6) Priority, Unsecured Claims, Other Than Debtor’s Attorney Fees.

          None. If “None” is checked, the rest of Section (C)(6) is not to be completed.

          All allowed claims entitled to priority treatment under § 507 shall be paid in full, pro rata:

      (a) Unsecured Domestic Support Obligations. The Debtor shall remain current on such obligations that come due after filing
          the petition. Unpaid obligations before the petition date are to be cured in the plan payments. The amount to be paid will be
          adjusted to the creditor’s allowed claim amount, through the claim process. If the holder of a domestic support obligation
          disagrees with the treatment proposed in this Plan, the holder must file a timely objection.

                                      Creditor                                                   Estimated Arrearage

      (b) Other unsecured priority claims.

                           Creditor                                Type of Priority Debt                       Estimated Amount
           Arizona Department of Revenue               11 U.S.C. 507(a)(8)                             $0.00
           IRS                                         11 U.S.C. 507(a)(8)                             $0.00

             Nonstandard Provisions. See Section (H).

   (7) Nonpriority, Unsecured Claims. Allowed unsecured, nonpriority claims shall be paid pro rata the balance of payments, if any,
       under the Plan. The amount to be paid or actually paid may differ from the Plan Analysis, depending on the Plan confirmation
       process and claims allowance.

          Nonstandard Provisions. See Section (H).

(D) Surrendered Property.

       None. If “None” is checked, the rest of Section (D) is not to be completed.

        Debtor surrenders the following property to the secured creditor. Upon confirmation of this Plan or except as otherwise
        ordered by the Court, bankruptcy stays are lifted as to the collateral to be surrendered. Any claim filed by such creditor shall
        receive no distribution until the creditor files a claim or an amended proof of claim that reflects any deficiency balance
        remaining on the claim. Should the creditor fail to file an amended deficiency claim consistent with this provision, the Trustee
        need not make any distributions to that creditor.

                                    Entity                                                 Brief Description of Property

(E) Vesting. Except as stated in this paragraph, property of the estate shall vest in the Debtor upon confirmation of the Plan.

   The following property shall vest in the Debtor upon Plan completion:

                                                      Brief Description of Property


   Nonstandard Provisions. See Section (H).

(F) Tax Returns. While the case is pending, the Debtor shall provide to the Trustee a copy of any post-petition tax return within 14
    days after filing the return with the tax agency. The Debtor has filed all tax returns for all taxable periods during the four-year
    period ending on the petition date, except:
                                                          Unfiled Tax Returns


(G) Funding Shortfall. Debtor will cure any funding shortfall before the Plan is deemed completed.
Local Form 2084-4 (12/17)                                     Chapter 13 Plan                                                       Page 6




      Case 2:20-bk-07377-PS Doc 69 Filed 11/13/23 Entered 11/15/23 22:40:54                                                               Desc
                          Imaged Certificate of Notice Page 9 of 11
                                                                                                                            11/13/23 12:32PM




(H) Nonstandard Provisions. Any Nonstandard Provision included herein must not be inconsistent with the Code or Local Rules and
    must identify the provision of the Plan being modified, the proposed modification and the justification for the modification. The
    Debtor submits the following provisions that vary from Section (C) of the Local Plan Form:

        None. If “None” is checked, the rest of Section (H) is not to be completed.
        Provide the detail required above.

                                                            Nonstandard Provisions




(I)     Plan Summary. If there are discrepancies between the Plan and this Plan Analysis, the provisions of the confirmed Plan
        control.

        (1)         Trustee’s compensation (10% of Total plan payments to Trustee)                           $               4,176.00
        (2)         Administrative Expenses (§(C)(2))                                                        $               6,000.00
        (3)         Leases and Executory Contracts (§(C)(3))                                                 $                   0.00
        (4)         (a) Conduit Mortgage Payments (§ (C)(4)(c))                                              $                   0.00
        (4)         (b) Arrearage Claims Secured Solely by Real Property (§ (C)(4)(c))                       $                   0.00
        (5)         (a) Claims Secured by Personal Property or Combination of Real & Personal Property (§
                    (C)(5)) - Unmodified.                                                                    $              27,691.45
        (5)         (b) Claims Secured by Personal Property or Combination of Real & Personal Property (§    $                   0.00
                    (C)(5)) - Modified.
        (6)         Priority Unsecured Claims (§(C)(6))                                                      $                   0.00
        (7)         Unsecured Nonpriority Claims (§ (c)(7))                                                  $               3,892.55
        (8)         Total of Plan Payments to Trustee                                                        $              41,760.00

(J)     Section 1325 Analysis.

        (1) Best Interest of Creditors Test:

              (a)     Value of Debtor’s interest in nonexempt property                                              $        3,400.00
              (b)     Plus: Value of property recoverable under avoidance powers                                    $            0.00
              (c)     Less: Estimated Chapter 7 administrative expenses                                             $          850.00
              (d)     Less: Amount payable to unsecured, priority creditors                                         $            0.00
              (e)     Equals: Estimated amount payable to unsecured, nonpriority claims if Debtor filed Chapter 7   $        2,550.00


  (2)   Section 1325(b) Analysis:

          (a) Monthly Disposable Income, Form B122C-2, (if less than $0, then state $0)                                 $      181.43
          (b) Applicable Commitment Period                                                                          $              60
          (c) Total of Line 2(a) amount x 60                                                                        $       10,885.80
(3) Estimated Payment to Unsecured, Nonpriority Creditors Under Plan                                                $        3,892.55

Certification by Debtor(s) and Attorney for Debtor(s): No changes were made to the Model Plan, other than the possible
inclusion of relevant Nonstandard Provisions in Section (H).




Local Form 2084-4 (12/17)                                          Chapter 13 Plan                                               Page 7




        Case 2:20-bk-07377-PS Doc 69 Filed 11/13/23 Entered 11/15/23 22:40:54                                                          Desc
                           Imaged Certificate of Notice Page 10 of 11
                                                                        11/13/23 12:32PM




Dated: November 13, 2023

/s/Fernando Pulido                                  /s/Nayeli Pulido
Fernando Pulido                                     Nayeli Pulido
Debtor                                              Debtor

/s/Tom McAvity
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Local Form 2084-4 (12/17)                  Chapter 13 Plan                   Page 8




      Case 2:20-bk-07377-PS Doc 69 Filed 11/13/23 Entered 11/15/23 22:40:54        Desc
                         Imaged Certificate of Notice Page 11 of 11
